         Case 21-10885-amc                     Doc       Filed 07/11/25 Entered 07/11/25 09:21:05                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 6
 Debtor 1              James Wooden
                       __________________________________________________________________

 Debtor 2               Vernice  Wooden
                        ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District       of __________
                                                          of Pennsylvania
                                                       District

 Case number            21-10885-amc
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                        US Bank Trust National Association, Not In Its Individual
                       Capacity But Solely As Owner Trustee For VRMTG Asset
                       Trust                                                                                20
 Name of creditor: _______________________________________                           Court claim no. (if known): _____________________

 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           8 ____
                                                         ____ 4 ____
                                                                  4 ____
                                                                      9              Must be at least 21 days after date        08/01/2025
                                                                                                                                _____________
                                                                                     of this notice


                                                                                     New total payment:                               1,894.59
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    975.38
                   Current escrow payment: $ _______________                       New escrow payment:                 1,175.23
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      
      ✔ No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      
      ✔ No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1
          Case 21-10885-amc                         Doc           Filed 07/11/25 Entered 07/11/25 09:21:05                           Desc Main
                                                                  Document      Page 2 of 6

Debtor 1         James Wooden
                 _______________________________________________________                                              21-10885-amc
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     
     ✔ I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ Danielle Boyle-Ebersole
     _____________________________________________________________
     Signature
                                                                                               Date    07/11/2025
                                                                                                       ___________________




 Print:             Danielle Boyle-Ebersole, Esquire
                    _________________________________________________________                  Title   Attorney
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Hladik, Onorato & Federman, LLP
                    _________________________________________________________



 Address            298 Wissahickon Avenue
                    _________________________________________________________
                    Number                 Street

                    North Wales                      PA      19454
                    ___________________________________________________
                    City                                                State       ZIP Code



                    215-855-9521                                                                       dboyle-ebersole@hoflawgroup.com
 Contact phone      ________________________                                                   Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
               Case 21-10885-amc                      Doc          Filed 07/11/25 Entered 07/11/25 09:21:05                                         Desc Main
                                                                   Document ShellpointPage
                                                                                      Mortgage3Servicing
                                                                                                of 6
                                                                                  P.O. Box 10826
                                                                                  Greenville, SC 29603
                                                                                  For Inquiries: 800-365-7107
                                                                                                                                                               Final

                                                                                                               Analysis Date:                                 January 13, 2025
       VERNICE M WOODEN                                                                                        Loan:
       JAMES C WOODEN
       7728 DELPHI PL                                                                                          Property Address:
       PHILADELPHIA PA 19153                                                                                   7728 DELPHI PL
                                                                                                               PHILADELPHIA, PA 19153




                                                Annual Escrow Account Disclosure Statement - Account History
        THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
      DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
           INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual     Effective Aug01, 2025         Prior Esc Pmt             May 01, 2024         Escrow Balance Calculation
P & I Pmt:                    $719.36                   $719.36         P & I Pmt:                      $719.36        Due Date:                                   August 01, 2025
Escrow Pmt:                   $564.51                  $1,175.23        Escrow Pmt:                     $564.51        Escrow Balance:                                 -$8,811.79
Other Funds Pmt:                $0.00                      $0.00        Other Funds Pmt:                  $0.00        Anticipated Pmts to Escrow:                           $0.00
Asst. Pmt (-):                  $0.00                      $0.00        Asst. Pmt (-):                    $0.00        Anticipated Pmts from Escrow (-):                     $0.00
Reserve Acct Pmt:               $0.00                      $0.00        Resrv Acct Pmt:                   $0.00
Total Payment:              $1,283.87                  $1,894.59        Total Payment:                $1,283.87        Anticipated Escrow Balance:                       -$8,811.79

Shortage/Overage Information                      Effective Aug01, 2025           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                    $10,549.41         amounts or insurance premiums, your escrow balance contains a cushion of
Required Cushion                                                $1,758.24         1,758.24. A cushion is an additional amount of funds held in your escrow in order to
Required Starting Balance                                       $8,954.65         prevent the balance from becoming overdrawn when an increase in the
Escrow Shortage                                               -$17,766.44         disbursement amount occurs. Your lowest monthly balance should not be below
Surplus                                                             $0.00         1,758.24 or 1/6 of the anticipated payment from the account.


      ** Since you are in an ac!ve bankruptcy, your new payment shown above is the post-pe!!on payment amount.
     This is a statement of actual activity in your escrow account from May2024 to Feb 2025. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                         Payments to Escrow                  Payments From Escrow                                                  Escrow Balance
        Date             Anticipated      Actual             Anticipated       Actual                 Description                  Required             Actual
                                                                                              Starting Balance                      5,756.98        (10,766.77)
       May 2024                866.03                           4,890.94                    * Flood                                 1,732.07        (10,766.77)
       Jun 2024                866.03            560.96                                     *                                       2,598.10        (10,205.81)
       Jul 2024                866.03            560.96                                     *                                       3,464.13         (9,644.85)
       Aug 2024                866.03            560.96                                     *                                       4,330.16         (9,083.89)
       Sep 2024                866.03          1,121.92                                     *                                       5,196.19         (7,961.97)
       Oct 2024                866.03            560.96                                     *                                       6,062.22         (7,401.01)
       Nov 2024                866.03            975.38                                     *                                       6,928.25         (6,425.63)
       Nov 2024                                                                   3,353.00 * Hazard                                 6,928.25         (9,778.63)
       Dec 2024                866.03            761.24         3,196.00                    * Hazard                                4,598.28         (9,017.39)
       Dec 2024                                3,011.37                                     * Escrow Only Payment                   4,598.28         (6,006.02)
       Dec 2024                                                                   1,783.77 * Escrow Only Payment                    4,598.28         (7,789.79)
       Dec 2024                                                                   1,022.00 * Escrow Only Payment                    4,598.28         (8,811.79)
       Jan 2025               866.03                                                        *                                       5,464.31         (8,811.79)
       Feb 2025               866.03                                                        *                                       6,330.34         (8,811.79)
                            $8,660.30         $8,113.75        $8,086.94          $6,158.77
       An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
       P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
           Case 21-10885-amc                      Doc         Filed 07/11/25          Entered
                                                                       Shellpoint Mortgage         07/11/25 09:21:05
                                                                                            Servicing                                     Desc Main
                                                                                                                                               Final
                                                              Document           Page
                                                                       For Inquiries:      4 of 6
                                                                                      800-365-7107

                                                                                                        Analysis Date:                              January 13, 2025
                                                                                                        Loan:

                                     Annual Escrow Account Disclosure Statement - Projections for Coming Year
       THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
     DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
          INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

    This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
    Your unpaid pre-petition escrow Amount is $1,705.96. This amount has been removed from the projected starting balance.

    Original Pre-Petition Amouont $3,763.10, Paid Pre-Petition Amount $2,057.14, Remaining Pre-Petition Amount $1,705.96.
        Date                 Anticipated Payments                                                                        Escrow Balance
                           To Escrow        From Escrow           Description                                    Anticipated            Required
                                                                  Starting Balance                                 (8,811.79)            8,954.65
    Mar 2025                                 2,305.47             City Tax                                       (11,117.26)             6,649.18
    Apr 2025                                                                                                     (11,117.26)             6,649.18
    May 2025                                 4,890.94             Flood                                          (16,008.20)             1,758.24
    Jun 2025                                                                                                     (16,008.20)             1,758.24
    Jul 2025                                                                                                     (16,008.20)             1,758.24
    Aug 2025                  879.12                                                                             (15,129.08)             2,637.36
    Sep 2025                  879.12                                                                             (14,249.96)             3,516.48
    Oct 2025                  879.12                                                                             (13,370.84)             4,395.60
    Nov 2025                  879.12                                                                             (12,491.72)             5,274.72
    Dec 2025                  879.12         3,353.00             Hazard                                         (14,965.60)             2,800.84
    Jan 2026                  879.12                                                                             (14,086.48)             3,679.96
    Feb 2026                  879.12                                                                             (13,207.36)             4,559.08
                            $6,153.84       $10,549.41
     G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

   (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

   Your ending balance from the last month of the account history (escrow balance anticipated) is (8,811.79). Your starting
   balance (escrow balance required) according to this analysis should be $8,954.65. This means you have a shortage of 17,766.44.
   This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
   deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 60 months.
   We anticipate the total of your coming year bills to be10,549.41. We divide that amount by the number of payments expected during the coming year
   to obtain your escrow payment.
     New Escrow Payment Calculation                                            Paying the shortage: If you did not have a shortage, your monthly payment would
     Unadjusted Escrow Payment                                  $879.12        be $1,598.48 (calculated by subtracting the Shortage Amount to the left and
     Surplus Reduction:                                           $0.00        rounding, if applicable). Paying the shortage does not guarantee that your
     Shortage Installment:                                      $296.11        payment  will remain the same, as your tax or insurance bills may have changed.
     Rounding Adjustment Amount:                                  $0.00
     Escrow Payment:                                           $1,175.23

                                             Please read the following important notices as they may affect your rights.

Newrez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will be used for that
purpose. Newrez LLC dba Shellpoint Mortgage Servicing's NMLS ID is 3013.

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise
you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof,
who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be subject to the automatic stay of
Section 362 of the United States Bankruptcy Code.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important protections for you,
including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months after the servicemember’s military or
other service. Counseling for covered servicemembers is available from Military OneSource(800-342-9647) and the United States Armed Forces Legal
Assistance or other similar agencies. For more information, please visit the Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want
to request information about your loan or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution
or Informational Request, please write to us. Additionally, if you believe we have furnished inaccurate information to credit reporting agencies, please
write to us with specific details regarding those errors and any supporting documentation that you have and we will assist you. Error Resolution,
including concerns of inaccurate information sent to credit reporting agencies, or requests for information should be sent to the following address:

Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected
in your credit report.
            Case 21-10885-amc                     Doc      Filed 07/11/25 Entered 07/11/25 09:21:05 Desc Main
A successor in interest is someone who acquires an ownershipDocument                Pageby5a mortgage
                                                            interest in a property secured   of 6 loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who is a joint
tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or email to start the
confirmation process.

Our system of record has your preferred language as English.

If you prefer to receive communication in a language other than English, please contact us at800-365-7107 to speak with a translator in your preferred
language about the servicing of your loan or a document you received.

Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 800-365-7107 para hablar con un traductor en el
idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.

⡀㙚⽦堿ḽ䏦冯媫ᶣ⟔䕂‴ᶔ媫墾庙圊ᵢ㯿濕媵傲䏳                                           濕ハᶪ⫄㛷㈬⽦桔廇䕂媫墾⩇㉐䖶ⵒ䕂媏⌖濕᳌⽦⫯寵㧼㗋⅟ᵉ朷ピ⽦ヾ㉣
㏴䕂㑅ᶴ庙圊␄婦Ʋ

Please note that we operate as Newrez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
Case 21-10885-amc          Doc    Filed 07/11/25 Entered 07/11/25 09:21:05           Desc Main
                                  Document      Page 6 of 6

               IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                           : Bankruptcy No. 21-10885-amc
James Wooden and Vernice Wooden                  : Chapter 13
                  Debtors                        :
                                                 :
                                                 :
                                                 :
US Bank Trust National Association, Not In
Its Individual Capacity But Solely As Owner
Trustee For VRMTG Asset Trust
                      Movant                     :
               vs.                               :
James Wooden and Vernice Wooden                  :


                      Debtors/Respondents        :
             and                                 :
Kenneth E. West, Esquire                         :
                    Trustee/Respondent           :

                                  CERTIFICATE OF SERVICE

    I, Danielle Boyle-Ebersole hereby certify that on 07/11/2025, I have served a copy of this
Notice and all attachments to the following by U.S. Mail, postage pre paid and/or via filing with
the US Bankruptcy Court’s CM ECF system.

Jeffrey M. Carbino, Esquire                 James Wooden
Michael A. Cibik, Esquire                   Vernice Wooden
Via ECF                                     7728 Delphi Pl
Attorneys for Debtors                       Philadelphia, PA 19153
                                            Via First Class Mail
Kenneth E. West, Esquire                    Debtors
VIA ECF
Trustee


                                                /s/ Danielle Boyle-Ebersole, Esquire
                                                Danielle Boyle-Ebersole, Esquire
                                                Hladik, Onorato & Federman, LLP
                                                298 Wissahickon Avenue
                                                North Wales, PA 19454
                                                Phone 215-855-9521
                                                Email: dboyle-ebersole@hoflawgroup.com
